       Case: 1:18-cv-03953 Document #: 5-1 Filed: 06/11/18 Page 1 of 9 PageID #:12



                            iN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS

R. ALEXANDER ACOSTA, Secretary of Labor,
United States Department of Labor,

                        Plaintiff.
                                                             )
                 v.                                          )   Civil action   no.:   18-cv-03953
                                                             )
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company, CESAR MALVAEZ MUNOZ and
ALEJANDRO MALVAEZ MUNOZ,
individually                                                 )
                                                             )
                        Defendants.                          )
                                          CONSENT JUDGMENT

           Plaintiff, R. ALEXANDER ACOSTA, Secretary of Labor, United States Department of

Labor, having filed his complaint and Defendants, AC PALLETS LLC, an Illinois limited liability

company, CESAR MALVAEZ MUNOZ, an individual, and ALEJANDRO MALVAEZ

MUNOZ. an individual, (collectively “Defendants”), having appeared by counseL acknowledge

receipt of the complaint herein and waive service thereof, and having been duly advised in the

premises, agree to the entry of this judgment without contest.

       NOW, therefore, upon motion of attorneys for Plaintiff and Defendants, and for cause shown,

       JUDGMENT IS HEREBY ENTERED against Defendants pursuant to section 17 of the

Fair Labor Standards Act of 1938, as Amended, 29 U.S.C.            § 201   et seq., (hereinafter “the Act”), as

follows.

       DEFENDANTS admit that Defendant AC PALLETS LLC is an enterprise engaged in

commerce within the meaning of sections 3(r) and 3(s)(1)(A) of the Fair Labor Standards Act. The

court finds, based on this admission, that AC PALLETS LLC is responsible for the provisions set

forth in this Consent Judgment.
                Case: 1:18-cv-03953 Document #: 5-1 Filed: 06/11/18 Page 2 of 9 PageID #:13



                DEFENDANTS admit that Defendants CFSAR MALVAEZ MUNOZ and ALEJANDRO

MALVAEZ MUNOZ, individually, acted directly or indirectly in the interest of the corporate

Defendant AC PALLETS LLC and thereby are each considered to be an emp1oyer” under section

3(d) of the Act. The court finds, based on this admission, that CESAR MALVAEZ MUNOZ and

ALEJANDRO MALVAEZ MUNOZ are employers and are individually responsible for the

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                IT IS HEREBY ORDERED, ADJUDGED, AND DECREED, pursuant to section 17 of the

Act, that Defendants, their officers, agents, servants, employees, and all persons in active concert or

participation with them be and hereby are, permanently enjoined and restrained from violating the

provisions of the Act, in any of the following manners:

                (a)         Defendants shall not, contrary to sections 7 and 15(a)(2) of the Act, employ any of

their employees who in any workweek are engaged in commerce or the production of goods for

commerce, or who are employed in an enterprise engaged in commerce or in the production of goods

for commerce, within the meaning of the Act, for vorkweeks longer than 40 hours, unless such

employees receive compensation for their employment in excess of 40 hours at a rate not less than

one and one-half times the regular rates at which they are employed.

                (b)         Defendants shall not fail to make, keep and preserve records of their employees and of

the wages, hours, and other conditions and practices of employment maintained by them as

prescribed by the regulations issued, and from time to time amended, pursuant to section 11(c) of the

Act and found at 29 C.F.R. Part 516.

                (c)         Defendants shall not, contrary to section 15(a)(3) of the Act, threaten, retaliate, or

discriminate in any way against any current or former employee of Defendants for exercising any



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       Case: 1:18-cv-03953 Document #: 5-1 Filed: 06/11/18 Page 3 of 9 PageID #:14



richts cinder the Act, including employee complaints regarding compliance with the Act made to

Defendants or any enforcement agency responsible for enforcing the Act.


                                                   II


        In accordance with Plea Agreement entered into in the case of People of the State of Illinois v.

Ce car Malvaez Mttnoz and Alejandro Matvaez Mitnoz, 17 CR 4675. Defendants hereby acknowledge

their conduct set forth in the indictment in said matter violated the anti-retaliation provisions of

section 15(a)(3) of the Act. 29 U.S.C.   § 215(a)(3). Defendants have paid restitution in the amounts
of $6,260 and $6,140 to be distributed to Lorenzo Hernandez and Francisco Garcia Ruiz by the Wage

and Hour Division of the United States Department of Labor in accordance with the terms of the Plea

Agreement.


                                                 III


       Defendants shall not request, solicit, suggest, or coerce, directly, or indirectly, any employee

to return or to offer to return to Defendants or to someone else for Defendants, any money in the form

of cash, check, or any other form, for wages previously due or to become due in the future under the

Act; nor shall Defendants accept, or receive from any employee, either directly or indirectly, any

money in the fom of cash, check, or any other form, for wages heretofore or hereafter paid to any

employee; nor shall Defendants discharge or in any other manner discriminate, nor solicit or

encourage anyone else to discriminate, against any such employee because such employee has

received or retained money due to him from Defendants under the Act.


                                                   Iv

       FURTHER, it is agreed by the parties herein and hereby ORDERED that each party bear its

own fees and other expenses incurred by such party in connection with any stage of this proceeding


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       Case: 1:18-cv-03953 Document #: 5-1 Filed: 06/11/18 Page 4 of 9 PageID #:15




to date with no costs, inciciding, bcit not limited to, any and all costs referenced under the Equal

Access to Justice Act of 1980, as Amended (28 U.S.C.       § 2412   ci seq.).



SO ORDERED.



              Dated this     II             day of               L                     ,   2018.




                               United States District Court Judge



AC PALLETS LLC                                           KATE S. O’SCANNLIAN
                                                         Solicitor of Labor

By:_____________________                                 CHRISTINE Z. HERI
                                                         Regional Solicitor


                                                         MARGARET A. SE WELL
CESAR MALVAEZ MUNOZ                                      Attorneys for the Plaintiff

                                                         Office of the Solicitor
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ALEJANtRO MAL’AEZ MUNOZ                                          2305. Dearborn St., Rm. 844
                                                         Chicago, Illinois 60604
                                                         Tel. no.: (312) 353-3481
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    Case: 1:18-cv-03953 Document #: 5-1 Filed: 06/11/18 Page 5 of 9 PageID #:16




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS

R. ALEXANDER ACOSTA, Secretary of Labor,               )
United States Department of Labor,                     )
                                                       )
                         Plaintiff,                    )
                                                       )
                 v.                                    )   Civil action no.:

AC PALLETS LLC, an Illinois limited liability
company, CESAR MALVAEZ MUNOZ and                       )
ALEJANDRO MALVAEZ MUNOZ,                               )
individually                                           )
                                                       )
                         Defendants.                   )

                                        COMPLAINT

          Plaintiff, R. ALEXANDER ACOSTA, Secretary of Labor, United States Department of

Labor, brings this action to enjoin and restrain Defendants, AC PALLETS LLC, an Illinois

limited liability company, CESAR MALVAEZ MUNOZ, an individual and ALJEANDRO

MALVAEZ MUNOZ, an individual, (collectively ‘Defendants”), from violating the provisions

of sections 7, 11, and 15 of the Fair Labor Standards Act of 193$, as Amended (29 U.S.C.      § 201
et seq.) (hereinafter the Act”), pursuant to section 17 of the Act.

                                                I

          Jurisdiction of this action is conferred upon the Court by section 17 of the Act and 2$ U.S.C.

§ 1345.
                                                II

          (A)    Defendant, AC PALLETS LLC, is and, at all times hereinafter mentioned, was an

Illinois limited liability corporation with an office and a place of business at 4122 W. Odgen
    Case: 1:18-cv-03953 Document #: 5-1 Filed: 06/11/18 Page 6 of 9 PageID #:17




Avenue, Chicago, Illinois, 60623, in Cook   County,     within the jurisdiction of this Cocirt, and is and,

at all times hereinafter mentioned, was engaged in manufactciring and selling pallets.

       (B)     Defendant, CESAR MALVAEZ MUNOZ, an individual, was engaged in business

at 4122W. Ogden Avenue, Chicago, Illinois, 60623, in Cook County, within the jurisdiction of this

court. Defendant CESAR MALVAEZ MUNOZ has a 50% ownership interest in AC PALLETS

LLC and acted directly or indirectly in the interest of AC PALLETS LLC in that he actively

supervised the day-to-day operations and management of AC PALLETS LLC in relation to its

employees and is an employer within the meaning of section 3(d) of the Act.

       (C)     Defendant, ALEJANDRO MALVAEZ MUNOZ, an individual, was engaged in

business at 4122 W. Ogden Avenue, Chicago, Illinois 60623, in Cook County, within the jurisdiction

of this court. Defendant ALEJANDRO MALVAEZ MUNOZ has a 50% ownership interest in AC

PALLETS LLC and acted directly or indirectly in the interest of AC PALLETS LLC in that he

actively supervised the day-to-day operations and management of AC PALLETS LLC in relation to

its employees and is an employer within the meaning of section 3(d) of the Act.

                                             III

       Defendant, AC PALLETS LLC, is and, at all times hereinafter mentioned, was engaged

in related activities performed through unified operation or common control for a common

business purpose, and is and at all times hereinafter mentioned was an enterprise within the

meaning of section 3(r) of the Act.

                                              Iv

       Defendant, AC PALLETS LLC, is and, at all times hereinafter mentioned, was an

enterprise engaged in commerce or in the production of goods for commerce within the meaning

of section 3(s)(1)(A) of the Act in that said enterprise at all times hereinafter mentioned had



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    Case: 1:18-cv-03953 Document #: 5-1 Filed: 06/11/18 Page 7 of 9 PageID #:18




employees engaged in commerce or in the production of goods for commerce, or employees

handling, selling, or otherwise working on goods or materials that have been moved in or

produced for commerce by any person and in that said enterprise has had an anncial gross volume

sales made or business done of not less than $500,000.

                                             V

       from January 1, 2015 through July 2, 2016, Defendants violated the provisions of

sections 7 and l5(a)(2) of the Act by employing employees, who in workweeks were employed

in an enterprise engaged in commerce, within the meaning of the Act, as aforesaid, for

workweeks longer than 40 hours without compensating said employees for their employment in

excess of 40 hours per week during scich workweeks at rates not less than one and one-half times

the regular rate at which they were employed.

                                              VI

       From January 1, 2015 through July 2, 2016, Defendants, employers subject to the

provisions of the Act, violated the provisions of sections 11 and I 5(a)(5) of the Act in that that

they failed to make, keep, and preserve adequate and accurate records of employees and the

wages, hours and other conditions and practices of employment maintained by them as

prescribed by regulations duly issued pursuant to authority granted in the Act and found in 29

C.F.R. 516, in that records fail to show adequately and accurately, among other things, the hours

worked each workday and the total hours worked each workweek.

                                                 VII

       (a)     Defendants, persons subject to the section 1 5(a)(3) provisions of the Act, willfully

violated said provisions in that on or about September 22, 2016, Defendants entered into an

agreement with the Wage and 1-lour Division, United States Department of Labor, whereby they



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    Case: 1:18-cv-03953 Document #: 5-1 Filed: 06/11/18 Page 8 of 9 PageID #:19




agreed to pay two employees, Lorenzo I-lernandez and Francisco Garcia Ruiz, back wages in the

amount of $6,500 each as a result of their failure to pay one and one half the regular rate of pay

for all hours worked over 40 hours in a workweek in violation of Section 7 and Section 1 5(a)(2)

of the Act as described in Paragraph V. 29 U.S.C.    §   207, 215(a)(2), 215(a)(3). Defendants

also failed to properly keep records of the start and stop times for non-exempt employees

pursuant to Section 11(c) and I 5(a)(5) of the Act as described in Paragraph VI. 29 U.S.C.     §
211(c), 2 1 5(a)(5). Defendants agreed to comply with the Act. The agreement covered the time

period of January 1,2015 through July 2,2016.

       (b)     Defendants informed Lorenzo Hernandez and Francisco Garcia Ruiz that they

needed their assistance in cashing checks which were issued to the two employees for back

wages pursuant to the agreement with the Wage and Hour Division. From September 22, 2016

through March 1 6, 2017, Lorenzo Hernandez and Francisco Garcia Ruiz were transported to a

bank and instructed to sign the checks. However, the cash received for the checks was handed

over to the Defendants with only a nominal amount provided to the employees. Although the

employees were owed $6,500 each, they only collectively received $600.00 total from

Defendants. Defendants further represented to the Wage and Hour Division that payment to the

employees had been made in full by presenting as proof of payment copies of the cashed checks.

       (c)     Defendants retaliated against the Lorenzo I-lernandez and Francisco Garcia Ruiz

in violation of Section 1 5(a)(3) when it executed this scheme and required the employees to

return money to the Defendants which was rightfully owed to them as back wages.

       (d)     As a result of the conduct set forth above, Defendants CESAR MALVAEZ

MUNOZ and ALEJANDRO MALVAEZ MUNOZ were indicted in the Circuit Court of Cook

County Illinois, People of the State ofIllinois v. Cesar Malvaez Munoz and Atejandro Malvaez



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   Case: 1:18-cv-03953 Document #: 5-1 Filed: 06/11/18 Page 9 of 9 PageID #:20




Munoz, Case No. 17 CR 14675. Defendants CESAR MAE VAEZ MUNOZ and

ALEJANDRO MAE VAEZ MUNOZ entered a PLea Agreement on February 23, 201$, wherein

they acknowledged their conduct constituted a violation of Section 15(a)(3) of the Act, 29 U.S.C.

§21 5(a)(3). Defendants CESAR MAEVAEZ MUNOZ and ALEJANDRO MAEVAEZ

MUNOZ have further paid $6,260 and $6,140 in restitution to the Waae and Hour Division of

the United States Department of Labor, to be distributed to the two employees.

                                               VII!

        Defendants have repeatedly and willfully violated the provisions of the Act as set forth

above. A judgment which enjoins and restrains such violations is expressly authorized by section 17

of the Act.

        WHEREFORE, cause having been shown, Plaintiff prays for judgment against Defendants

as follows:

        for an Order pursuant to section 17 of the Act, permanently enjoining and restraining the

Defendants, their officers, agents, servants, employees, and those persons in active concert or

participation with them from prospectively violating the Act.

                                                      KATE S. O’SCANNLAIN
                                                      Solicitor of Labor

                                                      CHRISTINE Z. HERI
                                                      Regional Solicitor


P.O. ADDRESS:                                         s/ Margaret A. Sewell
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